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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           :
                                           :
UNITED STATES OF AMERICA                   :
                                           :
      v.                                  :  Case No. 1:19-CR-00125 (ABJ)
                                          :
GREGORY B. CRAIG,                         :
                                          :
            Defendant.                    :
                                          :
__________________________________________:

                   GOVERNMENT’S LIST OF EXPECTED WITNESSES
       Pursuant to the Court’s instructions on August 16, 2019, the government hereby provides

a list of additional witnesses that, as of this date, the government may call during its case-in-chief.

As trial progresses, the government may determine that some of these witnesses are not necessary

or it may determine that additional witnesses are necessary. If the government determines that

additional witnesses may be necessary, it will promptly inform the Court and the defense.

Richard Gates
Kenneth Gross
Jonathan Hawker
Heather Hunt
Allon Kedem
Peter Lesser
Lauren Weiss Malet
Omer Meisel
Melissa Porter
Noah Puntus
Lucy-Claire Saunders
Cliff Sloan
Lawrence Spiegel
Catherine Whitney
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                              Respectfully submitted,

                              JESSIE K. LIU
                              UNITED STATES ATTORNEY
                              D.C. Bar Number 472845

                              By: /s/ Molly Gaston
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                              MOLLY GASTON (VA 78506)
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                              JOHN C. DEMERS
                              ASSISTANT ATTORNEY GENERAL

                              By: /s/ Jason B.A. McCullough
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Dated: August 18, 2019
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                                    Certificate of Service

      I certify that, by virtue of the Court’s ECF system, a copy of the Government’s Expected
Witness List has been sent to counsel for the Defendant on August 18, 2019.


                                           /s/ Jason McCullough
                                           Jason B.A. McCullough
                                           Trial Attorney, NSD
